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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

 MILLIMAN, INC., MILLIMAN                        )
 SOLUTIONS, LLC, and VIGILYTICS                  )
 LLC,                                            )
                                                 )
                    Plaintiffs,                  )
                                                 )      Civil Action No. 1:21-cv-10865-NMG
                       vs.                       )
                                                 )
 GRADIENT A.I. CORP., STANFORD A.                )
 SMITH, and SAMUEL CHASE PETTUS,                 )
                                                 )
                    Defendants.                  )
                                                 )

     PLAINTIFFS’ RENEWED MOTION TO COMPEL DISCOVERY RESPONSES

       Pursuant to Rule 37 of the Federal Rules of Civil Procedure and Local Rule 37.1, Plaintiffs

Milliman, Inc., Milliman Solutions, LLC (collectively, “Milliman”), and Vigilytics LLC

(“Vigilytics,” and together with Milliman, “Plaintiffs”) respectfully renew their motion to compel

Defendants Gradient A.I. Corp. (“Gradient”), Stanford A. Smith (“Smith”), and Samuel Chase

Pettus (“Pettus,” and, collectively with Gradient and Smith, “Defendants”) to provide substantive

responses to Plaintiffs’ First Set of Interrogatories (“Interrogatories”) and First Set of Requests for

Production ( “Requests”) served March 17, 2022 (collectively “Discovery Requests”).

       Plaintiffs file this Motion because Defendants refuse to substantively respond to virtually

all of Plaintiffs’ Discovery Requests despite Plaintiffs’ service of a Supplemental Trade Secret

Identification in compliance with the Court’s July 11, 2022 Order (Dkt. #70) (the “Order”).

Although the Order required that “Defendants will then have one week to review the

[supplemental] disclosure before resuming their response to plaintiffs’ discovery requests,”

Defendants refuse to do so. The Court should reject Defendants’ continued objections to Plaintiffs

supplemental 42D Disclosures and order full and complete substantive responses to Plaintiffs’
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Discovery Request. In support of this motion, Plaintiffs submit herewith a Memorandum in

Support, and accompanying exhibits, and incorporating their Motion to Compel, Dkt. No. 54, and

supporting Memorandum and Exhibits, Dkt Nos. 55 and 55.1-55.6 by reference.

       WHEREFORE, Plaintiffs respectfully request that the Court:

       1.      Overrule Defendants’ § 42D objection, including with respect to Interrogatories 1

to 6 and Requests 1, 2, 4, 9−27, 32, 34−40, 42−48, 50, 56−60, and 64;

       2.      Overrule Defendants relevancy objections, including with respect to Interrogatories

1−5 and 12 and Requests 1−32, 34−38, 40−46, 49, and 56−64;

       3.      Overrule Defendants Scheduling Order objections, including with respect to

Interrogatories 8, 12, and 13, and Requests 28−31, 40−45, and 49;

       4.      Overrule Defendants’ attempted reliance on the Fed. R. Civ. P. 33(d) Option,

including with respect to Interrogatories 1−4 and 13;

       5.      Order Defendants to provide substantive responses to Interrogatories 1 to 6, 8 to

10, 12, and 13 without further delay;

       6.      Order Defendants to produce documents responsive to Requests 1 to 51, 53 to 54,

and 56 to 64, including the information requested regarding the design, development,

implementation, use and licensing of the Accused Products, including a full copy of their source

code for the Accused Products without further delay.
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Dated: August 12, 2022                   Respectfully submitted,

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                                                        and

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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document, filed through the ECF system, will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing.


                                                       /s/ Christopher Centurelli


                              CERTIFICATE OF CONFERENCE

       I hereby certify that, prior to filing this motion, counsel for Plaintiffs Christopher Centurelli

and John Gavin and counsel for Defendants Kevin Quigley attended August 8 and 10, 2022

telephone conferences and conferred pursuant to Local Rule 37.1, and exchanged emails regarding

the same on August 4, 5, and 9, 2022 in a good-faith attempt to resolve the matters contained in

this motion.

                                                       /s/ Christopher Centurelli
